Case 8:16-cv-00262-AG-JCG Document 560 Filed 10/22/19 Pagelof1 Page ID#:27418

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

 

 

 

Case No. SACV 16-00262-AG (JCGx) Date October 22, 2019
Title In Re: Toll Roads Litigation
PRESENT:

HONORABLE ANDREW J. GUILFORD, UNITED STATES DISTRICT JUDGE

NO EO

Melissa Kunig Not Reported
Deputy Clerk Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANT:

None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER GRANTING PLAINTIFF’S REQUESTS TO
CONTINUE ON MOTION TO DECIDE KEY QUESTIONS [558][559]

The Court is in receipt of Plaintiffs Requests to Continue on Motion to Decide Key
Questions [558][559]. For the reasons stated in the requests the Court GRANTS the
requests.

The hearing on Defendant's Motion for Order to Decide Key Questions and Certify them

for Appeal [520] is hereby CONTINUED from October 28, 2019 at 10:00 a.m. to January 6,
2020 at 10:00 a.m.

 

Initials of Deputy Clerk mku

 

cc:

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 1 of 1
